Case 3:17-cv-01399-HLA-PDB Document 1 Filed 12/15/17 Page 1 of 11 Page|D 1

 

 

UNITED STATES DISTRICT COURT
FOR 'I'HE MIDDLE DISTRICT OF FLORIDA 37/7 ODC
. . L /
LINDSEY NICKEL-DE LA O, individually c,,
and on behalf of all others similarly situated, ` " . _ _k
CLASS ACTION COMPLA]NT
Plaintzf§
DEMAND FOR JURY TRIAL
v. l
- _ _ »- -ZSHQ§
sAKs FIFTH AVENUE LLC, a ?> n C`( \zqq j
Massachusetts limited liability company,
Defendant.
CLASS ACTION COMPLAINT

Plaintiff Lindsey Nickel~De La 0 (“Plaintifl” or “Nickel-De La O”) brings this class
action against Dcfendant Saks FiRh Avenue LLC (“Saks” or “Defendant”) to stop its practice of
sending unsolicited text messages to cellular telephones without the recipient’s prior express
written consent and to obtain redress for all persons injured by its conduct, including injunctive
relief. Plaintiti`, for her Complaint, alleges as follows upon personal knowledge as to herself and
her own acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by her attomeys.

NATURE OF THE AC'I`ION
l. Dcfendant conducted (and continues to conduct) a wide-scale telemarketing
campaign that features the repeated sending of unwanted solicitation text messages to
consumers’ cellular telephones - and even to those who have registered their numbers on the

National Do Not Call Registry - in violation of the Telephone Consumer Protection.Act, 47
U.S.C. §.227 (the “TCPA”).

_5 /`?’7//: 3

0

Case 3:17-cv-01399-HLA-PDB Document 1 Filed 12/15/17 Page 2 of 11 Page|D 2

2. By sending these text messages, Dcfendant caused Plaintiff and the members of
the Class actual harm and cognizable legal injury. This includes the aggravation and nuisance
and invasions of privacy that result from the receipt of such text messages, in addition to the
wear and tear on their cellular telephones, consumption of battery life, lost cellular minutes, loss
of value realized for the monies consumers paid to their wireless carriers for the receipt of such
text messages, in the form of the diminished use, enjoyment, value, and utility of their cellular
telephone plans.

3. The TCPA was enacted to protect consumers from text messages like those
alleged and described herein. ln response to Defendant’s unlawful conduct, Plaintiff files this
lawsuit seeking injunctive relief, requiring Dcfendant to cease all solicitation text-messaging
activities to cellular telephones without first obtaining prior express written consent, as well as
an award of statutory damages to the members of the Class under the TCPA, costs, and

reasonable attorneys’ fees.

PARTIES
4. Plaintiff is a natural person residing in the City of Sarasota in the State of Florida.
5. Defendant is a company organized and existing under the laws of the

Commonwealth of Massachusetts with a principal place of business located at 12 E. 49‘h Street,
2“d floor, New York, New York 10017. Defendant does business in this District and throughout
the State of Florida.
JURISDICTION AND VENUE
6. This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§ 1331, as the action arises under the TCPA, which is a federal statute. This Court has personal

jurisdiction over Dcfendant because it conducts a significant amount of business in this District,

Case 3:17-cv-01399-HLA-PDB Document 1 Filed 12/15/17 Page 3 of 11 Page|D 3

solicits consumers in this District, sent and continues to send unsolicited text messages to this
District, and because the wrongful conduct giving rise to this case occurred in, was directed to,
and/or emanated from this District.

7. Venue is proper in this District under 28 U.S.C. § 139l(b) because Defendant
conducts a significant amount of business within this District and markets to this District, and
because the wrongful conduct giving rise to this case occurred in and/or was directed to this
District. Venue is additionally proper because Plaintiff resides in this District.

COMMON FACTUAL ALLEGATlONS

8. In recent years, companies, including Defendant, have turned to unsolicited
telemarketing as a way to increase its customer base.

9. Text messages, like the ones sent in the instant action, are considered calls under
the TCPA. See Rules and Regulations lmplementing the Telephone Consumer Protection Act of
1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014, 14115, 11 165 (July 3,
2003); see also Satte)field v. Simon & Schuster, Inc., 569 F.3d 946, 954 (9th Cir. 2009) (noting
that text messaging is a form of communication used primarily between telephones and is
therefore consistent with the definition of a “call”).

10. As explained by the Federal Communications Commission (“FCC”) in its 2012
order, the TCPA requires “prior express written consent for all autodialed or prerecorded
telemarketing calls to wireless numbers and residential lines."’ In the Matter of Rules and
Regulations Implementing the Telephone Consumer Protectiou Act of 1991, CG No. 02-278,
FCC 12-21, 27 FCC Rcd. 1830 11 2 (Feb. 15, 2012).

ll. Yet, in violation of this rule, Dcfendant fails to obtain prior express written

consent to send solicitation text messages to consumers’ cellular telephones.

Case 3:17-cv-01399-HLA-PDB Document _1 Filed 12/15/17 Page 4 of 11 Page|D 4

12. Defendant sent, and continues to send, text messages from SMS shortcode 752-
83.

13. Dcfendant sent the same (or substantially the same) text message en masse to
thousands of cellular telephone numbers throughout the United States.

14. In sending the text messages at issue in this Complaint, Dcfendant utilized an
automatic telephone dialing system (“ATDS”). Speciiically, the hardware and software used by
Dcfendant (or its agents) has the capacity to store, produce, and dial random or sequential
numbers, and/or receive and store lists of telephone numbers, and to dial such numbers, en
masse, in an automated fashion without human intervention. Defendant’s ATDS includes
features substantially similar to a predictive dialer, inasmuch as it is capable of making numerous
text message calls simultaneously (all without human intervention).

15. In fact, Defendant admits that is uses autodialed marketing text messages on its

very own website:l

aywbmmmfommkgf@lofwm Upl°§¢mmwmmunglmmwgeswweckdemm¥°m
pmWmdmop('m.“!nnewimlmo.msmpl°mcommmf¢qumf°pwmm°!
MMWWMMMW.M&M

16. Dcfendant knew, or is reckless in not knowing, that its text messages to Plaintiff

and members of the class are unlawful.

 

' https://www.saksfiiihavenue.com/main/SMS.jsp; (last accessed on December 14, 2017).
4

Case 3:17-cv-01399-HLA-PDB Document _1 Fi|eti 12/15/17 Page 5 of 11 Page|D 5

FACTS SPECIFIC TO PLAINTIFF NICKEL~DE LA 0

17. On February 10, 2009, Plaintiff’s cellular telephone number was registered on the
Nationa| Do Not Call Registry.

18. ln late 2013, Plaintiff purchased a product from Defendant’s website as a giti. In
doing so, she provided her cellular telephone number, but did not provide her express written
consent to be contacted on her cellular telephone using an ATDS.

19. Since 2014, Plaintiff has received a series of solicitation text messages from SMS
shortcode 752-83. The text messages have been sent out on at least a weekly basis.

20. As an example of the text messages Plaintiff received, on October 26, 2017 she
received a text message from SMS shortcode 752-83 on her cellular telephone that read, “[w]arm
up to cold weather with the most luxurious fin layers from the Fur Salon at Saks. Shop Fur:
http://s$a.in/13X87l.”

21. On November 15, 2017, Plaintiff received another text message from SMS
shortcode 752-83 that read, “[\v]ant a GIF'I` CARD up to $700? Do all your holiday shopping at
Saks and use code NOV2017 to save. Shop: http://s$a.in/l39D5C. Text HELP for info, S'I`OP to
end."

22. The aforementioned text messages, including others Plaintiff received, are

displayed below:

 

 

Case 3:17-cv-01399-HLA-PDB Document 1 Filed 12/15/17 Page 6 of 11 Page|D 6

*” ~' Al&¥ UE SZ‘UPM k ® f 2 353 l:.'* *”3° AT&¥ lJ'E B¢"\QN b @ 1 ¥ 35$ l:.°
<e ® ® <e @ ®
752-83 782-al

eri M:ss me Wed, ucv !, \.‘ 33 l'\.q
¥r'u, Dr'. 264 'I C.: r\.~

Fendi i always good fo the
warmupf°°°ldw€afhefwlfhihe houdayss.craph?chand‘b;egasthrat
mimmn°u$fuf\ayef$fmmm packaw°dulwmhmakspedect
Fur $°'°" at sa"s- presents. now at Sals.

3 NO‘M hhmll§&.ind.§n£x§
shop Funnnn;u§aa.waaxaz) m

urm, uaw o, \: m m
Stm, oct ?9,1; f 1 rca

Wl ‘Be f'D ed" this in
Went a first look at the the seasen's gall;_w°:hy sam mm ss?k;?n
best sala? Sneak a peek: up to 40% featuan pamela gene Ru;z &

OFF Saks styles sachm & aab|'
Shop Now: hnmlls§a.lnla;i§§ol shop Now: hnp;lla&a.lnll!ml¥
w°"' “"" " "` N’ °"' wea, Nov o, \.' cs m
Fendl is always 3 QQQd idea for file want up to 5275 oFF saks Sty'as?
h°"days~ G’apm° handbags that Simp|y shop on|ine only and reap
pack a colorful punch make perfect the rewards'
presents now at Saks. shop N°w: MM
Shop Nom mm;as§a.inlxanax§
V\!§!¢‘l°ly \¢’ U‘,\ |`\/
l.\au, Nov 6, i.` 63 vr.~
_ _ Want a GIFT CARD up to 5700? Do
WlI\ BBS!~D|'Q$&¢ this Season in an your howey shopping at saks
9313°‘”°""¥ 9°“*“5 wm §3"5- and use code NOV2017 to save.
hamling Pal`kel’, RBM RUIZ & sh°p: mummmsg
$€¢hln&Bab'- _ ran HELth info,sropwend.
Shop Now= ntm:!lssa.mlna&atr
IE?°® ‘ ®.®®*~“‘ ®

23. The above referenced SMS shortcode is owned and/or operated by Saks.

24. Furthermore, each of the links provided in the text messages redirected Plaintiff to
Sak’s website.

25. Each of the text messages sent by Saks were sent for the purpose of soliciting
Plaintiff s business.

26. Defendant’s calls disturbed Plaintiff’s use and enjoyment of her cellular
telephone, in addition to the wear and tear on the cellular telephone’s hardware (including the
cellular telephone’s battery) and the consumption of memory on their cellular telephones.

CLASS ALLEGATlONS

27. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of herself and all others similarly situated and seek certification of

the following Class:

 

 

Case 3:17-cv-01399-HLA-PDB Document _1 Filed 12/15/17 Page 7 of 11 Page|D 7

Text Message No Consent Class: All persons in the United States who
from a date four years prior to the filing of the initial complaint in this
case through the present: (l) Dcfendant (or a third person acting on behalf
of Defendant) sent solicitation text messages, (2) to the person’s cellular
telephone number, and (3) for whom Dcfendant claims it obtained prior
express written consent in the same manner as Dcfendant claims it
puportedly obtained prior express written consent to send automated text
messages to the Plaintiff.

28. The following individuals are excluded from the Class: (l) any Judge or
Magistrate presiding over this action and members of their families; (2) Defendant, its
subsidiaries, parents, successors, predecessors, and any entity in which Dcfendant or its parents
have a controlling interest and their current or former employees, officers and directors; (3)
Plaintiff’s attomeys; (4) persons who properly execute and file a timely request for exclusion
from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;
and (6) persons whose claims against Dcfendant have been fully and finally adjudicated and/or
released. Plaintiff anticipates the need to amend the Class definitions following appropriate
discovery.

29. Numerosity: The exact sizes of the Class are unknown and not available to
Plaintiff at this time, but it is clear that individual joinder is impracticable On information and
belief`, Dcfendant sent text messages to thousands of consumers who fall into the definition of the
Class. Members of the Class can be easily identified through Defendant’s records.

30. Commonality and Predominance: There are many questions of law and fact
common to the claims of Plaintiff and the Class, and those questions predominate over any
questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

(a) whether Defendant’s conduct constitutes a violation of the TCPA;

 

 

Case 3:17-cv-01399-HLA-PDB Document 1 Fi|ec_i 12/15/17 Page 8 of 11 Page|D 8

(b) whether Dcfendant utilized an automatic telephone dialing system to send text
messages to members of the Class;

(c) whether members of the Class are entitled to statutory and treble damages
based on the willfulness of Defendant’s conduct;

(d) whether Dcfendant systematically made multiple telephone calls to consumers
whose telephone numbers were registered with the National Do Not Call
Registry; and

(e) whether Dcfendant obtained prior express written consent to contact any class
members.

31. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Class, and has retained counsel competent and experienced in class
actions. Plaintiff have no interest antagonistic to those of the Class, and Dcfendant has no
defenses unique to Plaintiff`. Plaintiff and her counsel are committed to vigorously prosecuting
this action on behalf of the members of the Class, and have the financial resources to do so.
Neither Plaintiff nor her counsel has any interest adverse to the Class.

32. Appropriateness: This class action is also appropriate for certification because
Dcfendant has acted or refused to act on grounds generally applicable to the Class as wholes,
thereby requiring the Court's imposition of uniform relief to ensure compatible standards of
conduct toward the members of the Class and making final class-wide injunctive relief
appropriate Defendant’s business practices apply to and affect the members of the Class
uniformly, and Plaintiff‘s challenge of those practices hinges on Defendant’s conduct with
respect to the Class as wholes, not on facts or law applicable only to Plaintiff. Additionally, the
damages suffered by individual members of the Class will likely be small relative to the burden
and expense of individual prosecution of the complex litigation necessitated by Defendant’s
actions. Thus, it would be virtually impossible for the members of the Class to obtain effective

relief from Defendant’s misconduct on an individual basis. A class action provides the benefits

 

Case 3:17-cv-01399-HLA-PDB Document 1 Filed 12/15/17 Page 9 of 11 Page|D 9

of single adjudication, economics of scale, and comprehensive supervision by a single court.
Economies of time, effort, and expense will be fostered and uniformity of decisions will be
ensured.
FIRST CAUSE OF ACTION
Telephone Consumer Protection Act
(Violation of 47 U.S.C. § 227)

33. Plaintiff repeats and re-alleges paragraphs 1-32 of this Complaint and
incorporates them herein by reference

34. Dcfendant sent solicitation text messages to cellular telephone numbers belonging
to Plaintiff and other members of the Text Message No Consent Class without first obtaining
prior express written consent to receive such autodialed solicitation text messages.

35. Dcfendant sent the autodialed text messages using equipment that had the
capacity to store or produce telephone numbers using a random or sequential number generator,
to receive and store lists of phone numbers, and to dial such numbers, en masse, without human
intervention The telephone dialing equipment utilized by Defendant, also known as a predictive
dialer, dialed numbers from a list, or dialed numbers ii‘om a database of telephone numbers, in an
automatic and systematic manner. Defendant’s autodialer disseminated information en masse to
Plaintiff and other consumers

36. By sending the unsolicited text messages to Plaintiff and the cellular telephones of
members of the Text Message No Consent Class without their prior express written consent, and
by utilizing an automatic telephone dialing system to make those calls, Dcfendant violated 47
U.S.C. §227(b)(1)(A)(iii).

37. Dcfendant has, therefore, violated 47 U.S.C. § 227(b)(l)(A)(iii). As a result of

Defendant’s conduct, Plaintiff and the other members of the Text Message No Consent Class are

 

Case 3:17-cv-01399-HLA-PDB Document 1` Filed 12/15/17 Page 10 of 11 Page|D 10

each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each
violation of such act.

38. In the event that the Court determines that Defendant’s conduct was williiil and
knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages
recoverable by Plaintiff and the other members of the Text Message No Consent Class.

PRAYER FOR RELIEF

39. An order certifying the Class as defined above, appointing Plaintiff as the
representative of the Class, and appointing her counsel as Class Counsel;

40. An award of actual monetary loss from such violations or the sum of five hundred
dollars ($500.00) for each violation, whichever is greater all to be paid into a common fund for
the benefit of the Plaintiff and the Class Members;

41. An order declaring that Defendant’s actions, as set out above, violate the TCPA;

42. A declaratory judgment that Defendant’s text-messaging equipment constitutes an
automatic telephone dialing system under the TCPA;

43. An order requiring Dcfendant to disgorge any ill-gotten funds acquired as a result
of its unlawful text-messaging practices;

44. An order requiring Defendant to identify any third-party involved in the
autodialed text messaging as set out above, as well as the terms of any contract or compensation
arrangement it has with such third parties;

45. An injunction requiring Dcfendant to cease all unsolicited autodialed text-

messaging activities, and otherwise protecting the interests of the Class;

10

Case 3:17-cv-01399-HLA-PDB Document 1, Filed_12/15/17 Page 11 of 11 Page|D 11

46. An injunction prohibiting Dcfendant from using, or contracting the use of, an
automatic telephone dialing system without obtaining, and maintaining records of, call
recipient’s prior express written consent to receive text messages made with such equipment;

47. An injunction prohibiting Dcfendant from contracting with any third-party for
marketing purposes until they establish and implement policies and procedures for ensuring the
third-party’s compliance with the TCPA;

48. An injunction prohibiting Defendant &om conducting any future telemarketing
activities until they have established an internal Do Not Call List as required by the TCPA;

49. An award of reasonable attorneys’ fees and costs to be paid out of the common
fund prayed for above; and

50. Such other and further relief that the Court deems reasonable and just.

JURY DEMAND

Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: December 15, 2017

 

Respectfully Submitted,
HIRALDO P.A. LAW OFFICES OF STEFAN COLEMAN
P.A.
/s/ Manuel S. Hiraldo Stefan Coleman, Esq.
Manuel S. Hiraldo, Esq. Florida Bar No. 00030188
Florida Bar No. 030380 201 S. Biscayne Blvd., 28lh Floor
401 E. Las Olas Boulevard Miami, Florida 333131
Suite 1400 Telephone: (888) 333-9427
Ft. Lauderdale, Florida 33301 Facsimile: (888) 498-8946
mhiraldo@hiraldolaw.com
Telephone: 954.400.4713
Counselfor Plaintij" and the Class Counsel for Plaintijr and the Class

 

 

 

 

ll

